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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF KENTUCKY
                                       CENTRAL DIVISION
                                          FRANKFORT

                                                  )
COMMONWEALTH OF KENTUCKY, et                      )
al.,                                              )
                                                  )         Civil No. 3:21-cv-00055-GFVT
          Plaintiffs,                             )
                                                  )
v.                                                )                     ORDER
                                                  )
JOSEPH R. BIDEN, in his official capacity         )
as President of the United States, et al.,        )
                                                  )
          Defendants.
                                            *** *** *** ***

            This matter is before the Court on the Plaintiffs’ motion for a temporary restraining order

     and preliminary injunction. [R. 12.] Accordingly, and the Court being sufficiently advised, it is

     hereby ORDERED as follows:

        1. A telephonic status conference to schedule a hearing in this matter is SCHEDULED for

            Tuesday, November 9, 2021, at 3:30 p.m., with Judge Van Tatenhove sitting in

            Frankfort, Kentucky; and

        2. To join the teleconference, the parties are DIRECTED to call AT&T Teleconferencing

            at 1-877-336-1280 and enter Access Code 2086161 (followed by #), and, when

            requested, enter the Security Code 09170 (followed by #).

        This the 8th day of November, 2021.
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                                      2
